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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :       VIOLATIONS:
                                               :
THOMAS B. ADAMS, JR.,                          :       18 U.S.C. § 1512(c),
                                               :       (Obstruction of an Official Proceeding)
                                               :
                                               :       18 U.S.C. § 1752(a),
                                               :       (Entering and Remaining in a Building)
               Defendant.                      :
                                               :       40 U.S.C. § 5104(e)(2)
                                               :       (Violent Entry or Disorderly Conduct)

                                          ORDER

This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence, and

serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


Date: April 2, 2021                                    ___________________________________
                                                       ROBIN M. MERIWEATHER
                                                       UNITED STATES MAGISTRATE JUDGE


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